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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

MASS DYNAMICS, LLC, BOSTON CIVIL ACTION NO.
VAPOR, LLC, and LINDA AND JEFFREY
VICK d/b/a VICK’S VAPE SHOP,

Plaintiffs,

COMPLAINT
AND DEMAND FOR
JURY TRIAL
v.

CHARLES D. BAKER, in his official
capacity aa GOVERNOR OF THE
COMMONWEALTH OF
MASSACHUSETTS, MONICA BHAREL,
M_D., in her official capacity as
DEPARTMENT OF PUBLIC HEALTH
COMMISSIONER, and
COMMONWEALTH OF
MASSACHUSETTS,

Defendants.

Nee Name Nee Nee Nee Nee ee” ee ee ee ee ee ee ee ee ee ee”

 

INTRODUCTION

Plaintiffs Mass Dynamics, LLC (“Mass Dynamics”), Boston Vapor, LLC
(“Boston Vapor”), and Linda and Jeffrey Vick doing business as Vick’s Vape Shop
(“Vick’s”) (collectively, the “Plaintiffs”), by their undersigned counsel, hereby brings
this Complaint against Defendants Charles D. Baker, solely in his official capacity as
Governor of the Commonwealth of Massachusetts (“Governor Baker”), Monica Bharel,
M_D., solely in her official capacity as Commissioner of the Department of Public Health
(“Commissioner Bharel”), and the Commonwealth of Massachusetts (the
“Commonwealth”) (collectively, the “Defendants”), and state and allege the following:

Li This is an action seeking temporary, preliminary and permanent injunctive
relief, a declaratory judgment, and other appropriate relief to set aside as unconstitutional
the recent actions of the Defendants to ban the sale of electronic cigarettes, vapes,

vaporizers, vape pens, hookah pens, e-pipes and related products and components thereof
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— known as electronic nicotine delivery systems (“ENDS”) — in addition to so-called “e-
liquids,” which have been deemed safe and effective for marketing and use in the United
States by the Food and Drug Administration (“FDA”), and are regulated by the FDA.

z. The FDA regulates ENDS products pursuant to its authority set forth in
the Tobacco Control Act (“TCA”) and the Food, Drug, and Cosmetic Act (“FDCA”).

3. The “e-liquid” used in connection with many ENDS products may contain
nicotine, as well as varying compositions of flavorings, propylene glycol, vegetable
glycerin, and other ingredients. They do not include Vitamin E additives. The liquid is
heated to create an aerosol that the user inhales.

4. Notwithstanding that the FDA already has determined that the products
sold by the Plaintiffs are approved for marketing and sale in the United States, Governor
Baker recently issued an “emergency declaration” (the “Declaration”) empowering
Commissioner Bharel to issue an order prohibiting the sale of electronic cigarettes and
related products and the components thereof (the “Ban”). The Ban on the entire class of
products will only be lifted “[u]pon declaration by the governor that such emergency has
terminated.” See G.L. c. 17, § 2A.

S. When the FDA issued rules and regulations relative to ENDS it rejected
the idea of an outright ban on the entire class of electronic cigarettes and related products.
PARTIES

6. Plaintiff Mass Dynamics is a Massachusetts limited liability company,
whose Manager is Behram Agha, with its principal place of business at 331 Front Street,
Weymouth, Massachusetts. Mass Dynamics only sells electronic cigarettes and related

products.
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7. Plaintiff Boston Vapor, LLC is a New Hampshire limited liability
company, whose Manager is Mike Chance, and whose Registered Agent is Dena Chance,
with its principal place of business located at 9 Leonard Lane, Salem, New Hampshire.
Boston Vapor markets and sells ENDS products.

8. Plaintiffs Linda and Jeffrey Vick doing business as Vick’s Vape Shop
maintain a principal place of business at 466B Salem Street, Medford, Middlesex County,
Massachusetts. Vick’s markets and sells ENDS products.

9. Defendant Charles D. Baker is the Governor of the Commonwealth of
Massachusetts. Governor Baker maintains an office at the Massachusetts State House,
Office of the Governor, Room 105, Boston, Massachusetts 02133.

10. Defendant Monica Bharel, M.D. is the Commissioner of the
Massachusetts Department of Public Health. Upon information and belief,
Commissioner Bharel maintains an office at the Massachusetts Department of Public
Health, 250 Washington Street, Boston, Massachusetts, 02108.

11. Defendant Commonwealth of Massachusetts is a body politic. Upon
information and belief, the Commonwealth of Massachusetts maintains an office at the
State House, Boston, Massachusetts 02133. The Office of the Massachusetts Attorney
General (“AGO”) is empowered to accept service on behalf of the Commonwealth. The
AGO maintains an office at One Ashburton Place, Boston, Massachusetts. The
Commonwealth is made a defendant solely for the purpose of imposing an award of

attorney’s fees pursuant to 42 U.S.C. § 1988.
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JURISDICTION AND VENUE

12. Jurisdiction in this Court is grounded upon and proper under 28 U.S.C. §
1331 in that this is a civil action arising under the laws of the United States; and 28
U.S.C. §§ 2201-2202 in that there exists between the Plaintiffs and the Defendants an
actual, justiciable controversy as to which the Plaintiffs require a declaration of its rights
by this Court as well as temporary, preliminary and permanent injunctive relief to
prohibit the Defendants from violating federal laws and regulations and abridging its
rights protected under the U.S. Constitution.

12. | Venue is proper in this Court under 28 U.S.C. § 1391 (b) because this is a
civil action in which the Defendants maintain their offices and conduct business in this
judicial district. Moreover, a substantial part of the events giving rise to the claims herein
occurred within this judicial district.

13. + The Plaintiffs have standing to bring the present lawsuit because
Defendants’ actions have caused the Plaintiffs actual injury, which is redressable through
the specific relief requested herein. As family business owners purchasing and selling
ENDS and e-liquids through interstate commerce pursuant to their approval by the FDA,
the Plaintiffs’ operations also fall within the zone of interests to be protected by the
Contract, Equal Protection, and dormant Commerce Clauses of the U.S. Constitution, as
well as 42 U.S.C. §§ 1983 and 1988, and general federal preemption principles.

14. —_‘ This case is ripe for adjudication. As further discussed below, the
enforcement of the Declaration and Ban will result in an immediate and concrete invasion

of the Plaintiffs’ legally protected interests under federal law.
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FACTUAL BACKGROUND
Nature Of The Case

A. Statutory Process For FDA Regulation Of ENDS

15. | Congress has vested the FDA with responsibility for reviewing and
approving all tobacco products sold in the United States, including, but not limited to,
ENDS. To that end, the FDCA and the TCA require all ENDS products to be marketed
and sold pursuant to FDA approval and regulation. See 21 U.S.C. § 387; see also 21
CFR 1100, et seq; see also Federal Register, Vol. 81, No. 90 (May 10, 2016).

16. The final deeming rule allowing the FDA to regulate ENDS pursuant to
the FDCA and the TCA afforded the FDA “additional tools to reduce the number of
illnesses and premature deaths associated with tobacco product use.” See Federal
Register, Vol. 81, No. 90 at 28975.

17. The FDA obtains critical information regarding the health risks of ENDS
products, including information derived from ingredients listing submissions and
reporting of harmful and potentially harmful constituents (“HPHCs”) required under the
FDCA. Id.

18. The FDA regulates and establishes compliance programs for ENDS
manufacturing establishments. Id.

19. The FDA is empowered to take enforcement action against ENDS
manufacturing establishments to prevent underage marketing and sales, and for the

protection of public health. Id.
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20. The FDA’s regulatory tools include adulteration and misbranding
provisions protecting consumers by subjecting all ENDS products to certain basic
requirements.

21. The FDA’s regulatory tools further increase product consistency and help
protect the public health from adverse impacts. For example, FDA oversight of the
constituents in e-liquids and ENDS ensure quality control over the types and quantities of
chemicals being aerosolized and inhaled. Id. at 28984 citing, 79 FR 23142 at 23149.

22. The FDA is empowered to take enforcement action against any ENDS
products and e-liquids that do not meet these requirements. Id.

B. The Plaintiffs’ Contracts

23. The Plaintiffs maintain contracts with in-state wholesalers who supply,
and retailers who operate, Massachusetts ENDS and e-liquid shops.

24. — The Plaintiffs maintain contracts with Massachusetts landlords.

25. The Plaintiffs maintain contracts with out-of-state wholesalers that supply
Massachusetts retailers with ENDS products and e-liquids.

Re Governor Baker’s Declaration of a Public Health Emergency

26. On September 24, 2019, Governor Baker issued a two-page Declaration of
Emergency pursuant to G.L. c. 17, § 2A, citing general concerns about an ENDS crisis
and concluding that an emergency exists, which is detrimental to the public health in
Massachusetts.

27. On or around September 24, 2019, the Commissioner enacted the Ban.

28. The Declaration and the Ban came as a surprise to the Plaintiffs; they were

never consulted before the Declaration issued. Moreover, the Plaintiffs were surprised
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because the Commonwealth placed itself squarely in opposition to the FDA’s expert
determination that the Plaintiffs’ products were approved and regulated under federal
law, placing the Commonwealth squarely in opposition with the same.

29. The Defendants’ ban will have an impact on customers, wholesalers and
other individuals and corporations beyond the borders of the Commonwealth of
Massachusetts, including but not limited to, owners of real property leasing space to the
Plaintiffs’ and others.

D. The Need For Prompt Judicial Intervention

30. The Defendants’ actions will cause real and irreparable harm for the
Plaintiffs, their customers, their vendors, their landlords, their employees and their
families.

31. | Without access to ENDS products and e-liquids that are approved and
regulated will be forced to return to smoking cigarettes or obtain unregulated ENDS
products and e-liquids by other means.

32. The United States Center for Disease Control (“CDC”) has stated that
illegal, unregulated products have caused the majority of the 805 suspected cases of
illness nationwide.

33. All of the products sold by the Plaintiffs are regulated by the FDA and
certified by laboratories according to FDA standards.

34. The Plaintiffs have invested substantial time and money into building their
business.

35. The Plaintiffs and their employees rely on the revenue generated by the

sales of ENDS products and e-liquids to meet the demands of daily living, including, but
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not limited to, the purchase of gas, groceries, rent and mortgage payments, car payments,
daycare, & c.

36. After the imposition of the Ban, the Plaintiffs have not been able to benefit
from the revenue from the sale of ENDS products and e-liquids. Thus, the Plaintiffs are
unable to direct such revenue towards the payments of rent, groceries, gas and daycare.

CLAIMS FOR RELIEF

COUNT I
(United States Constitution: Preemption)

37. The Plaintiffs reallege, reassert, and incorporate by reference herein each
of the allegations contained in paragraphs 1 through 36 of this Complaint as though set
forth fully herein.

38. | The Supremacy Clause of the United States Constitution provides that
federal laws made under the authority of the United States shall be the “supreme law of
the land,” the laws of any state to the contrary notwithstanding. U.S. CONST. art. VI, §
2

39. The Supremacy Clause mandates that federal law preempts any state
regulation that poses an obstacle to the accomplishment and execution of the full
purposes and objectives of Congress.

40. | Under the FDCA and the TCA, Congress has delegated to the FDA the
authority to protect and promote the public health by approving for public use ENDS
products and e-liquids.

41. Under the FDCA and the TCA, Congress has delegated to the FDA the
authority to protect and promote the public health by regulating ENDS products and e-

liquids for purchase and sale in the United States.
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42. The Ban broadly prohibits the marketing and sale of ENDS products and
e-liquids until the Governor has determined that the “public health emergency has
terminated.”

43. Taken as a whole, the Ban represents an impermissible effort by
Massachusetts to establish its own ENDS and e-liquids regulatory and enforcement
policy and directly regulate the marketing and sale of ENDS and e-liquids within the
Commonwealth of Massachusetts. It conflicts with the FDA’s mandate under the FDCA
and the TCA, disregards federal policies, undermines the FDA’s comprehensive
regulatory scheme for nationally-effective tobacco regulation and enforcement, and
otherwise impedes the accomplishment and execution of the full purposes and objectives
of federal law.

44. The Ban also specifically undermines the FDA’s assessment that the
ENDS products and e-liquids that it regulates are safe and effective for their intended use
and may be distributed in all fifty states. By enacting and enforcing the Ban, the
Defendants have impeded the FDA’s congressional mandate to approve a range of safe
treatments to promote the public health.

45. Plaintiffs have not adequate remedy at law for the violation of the
Supremacy Clause.

46. The Ban will cause substantial, imminent, and irreparable injury to the
Plaintiffs unless the Declaration is vacated and the Defendants are enjoined from
enforcing the Ban.

WHEREFORE, the Plaintiffs request that this Court enter an Order vacating the

Declaration, preventing the enforcement of the Ban, issuing injunctive relief, awarding
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the Plaintiffs monetary damages and reasonable attorneys’ fees and costs, and any other
such relief as this Court deems just and fair.

COUNT I
(United States Constitution: Contract Clause)

47. The Plaintiffs reallege, reassert, and incorporate by reference herein each
of the allegations contained in paragraph 1 through 51 of this Complaint, as though set
forth fully herein.

48. The Contract Clause of the United States Constitution provides that no
state shall pass any law “impairing the obligations of contracts.” U.S. CONST. art. I, §
10, el. 1.

49. The Ban broadly bans the marketing and sale of ENDS products and e-
liquids in the Commonwealth of Massachusetts.

50. The Plaintiffs have valid contracts with wholesalers who supply ENDS
products and e-liquids to retailers in the Commonwealth of Massachusetts. Because the
subject matter has become illegal under the Ban, these contracts between the Plaintiffs
and their wholesalers are now substantially impaired. The Ban also will impair the
Plaintiffs ability to make payments to these wholesalers.

51. The Plaintiffs also have contracts with landlords for the rental of their
shop’s retail spaces. The Ban irretrievably frustrates the purpose of the lease agreements
and impairs the Plaintiffs ability to receive the benefits for which they bargained for.

52. For the reasons set forth herein, the Ban does not reflect a significant and
legitimate public purpose. The Defendants have not appropriately explained the contours
of a public emergency necessitating the drastic step it has taken. Furthermore, it applies

only to ban ENDS products and e-liquids while ignoring the unique advantages of ENDS

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products and e-liquids to other tobacco products, which are also regulated by FDA
pursuant to the FDCA and the TCA.

53. For the reasons set forth herein, the Ban is not based upon reasonable
conditions and is not of a character appropriate to the Defendants’ stated public purpose.
The Ban is ultra vires and could never be adequately tailored, to the extent that the
Defendants lack authority to issue the Declaration and Ban in the first place. Moreover,
it is too grossly under- and over-inclusive to reflect any level of tailoring, on its own
terms.

54. The Plaintiffs have no adequate remedy at law for the violation of the
Contracts Clause.

55. | The Ban will cause substantial, imminent, and irreparable injury to the
Plaintiffs unless the Declaration is vacated and the Defendants are enjoined from
enforcing the Ban.

WHEREFORE, the Plaintiffs request that this Court enter an Order vacating the
Declaration, preventing the enforcement of the Ban, issuing injunctive relief, awarding
the Plaintiffs monetary damages and reasonable attorneys’ fees and costs, and any other
such relief as this Court deems just and fair.

COUNT Hl
(United States Constitution: Commerce Clause)

56. The Plaintiffs reallege, reassert, and incorporates by reference herein each
of the allegations contained in paragraph 1 through 55 of this Complaint, as though set

forth fully herein.

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57. | The Commerce Clause of the U.S. Constitution prevents a state from
taking any action which may fairly be deemed to have the effect of impeding the free
flow of trade between the states.

58. Congress has empowered the FDA to promulgate regulations regarding
tobacco products, including ENDS and e-liquids, for introduction into interstate
commerce. See 21 U.S.C. 387().

59. Tobacco regulation, which includes ENDS and e-liquids, is an arena that
is inherently national in nature in that the FDA has long set uniform standards for tobacco
regulation across all states.

60. The Ban imposes significant burdens on interstate commerce because it
interferes with the FDA’s national and uniform system of regulation. If the
Commonwealth of Massachusetts is allowed to make determinations as to what tobacco
products are appropriate for marketing and sale, the result will be a patchwork of state-
specific regulation governing how tobacco products are designed and formulated that
would effectively eviscerate the mission of the FDA and create 50 different (and
potentially conflicting) sets of rules for deciding what constitutes the proper regulation of
tobacco products, including, but not limited to, ENDS and e-liquids.

61. The Ban also imposes significant burdens on interstate commerce because
it harms wholesalers, vendors, landlords and customers living and working in
Massachusetts, as well as wholesalers, vendors, landlords and customers living and
working outside of Massachusetts. Because the Plaintiffs are prohibiting from selling
ENDS and e-liquids, they have been denied the benefit of the bargain with their

customers, vendors, wholesalers, and landlords.

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62. The burden imposed on interstate commerce is clearly excessive in
relation to the putative local benefits touted by the Defendants. The total prohibition on
the purchase and sale of ENDS and e-liquids is the most excessive form of action that can
be taken. By contrast, the putative local benefits of limiting opioid abuse are both
hypothetical and minimal, given the FDA’s consideration of the issue and decision to
regulate the subjects products for sale and use, and enforce the unlawful distribution of
illegal THC e-liquids that contain harmful Vitamin E additives.

63. The Plaintiffs have no adequate remedy at law for the violation of the
Commerce Clause.

64._ The Ban will cause substantial, imminent, and irreparable injury to the
Plaintiffs unless the Declaration is vacated and the Defendants are enjoined from
enforcing the Ban.

WHEREFORE, the Plaintiffs request that this Court enter an Order vacating the
Declaration, preventing the enforcement of the Ban, issuing injunctive relief, awarding
the Plaintiffs monetary damages and reasonable attorneys’ fees and costs, and any other
such relief as this Court deems just and fair.

COUNT IV
(United States Constitution: Regulatory Taking)

65. The Plaintiffs reallege, reassert, and incorporate by reference herein each
of the allegations contained in paragraphs 1 through 64 of this Complaint as though set
forth fully herein.

66. The Fifth and Fourteenth Amendments to the United States Constitution
prevent the Commonwealth of Massachusetts from taking private property without just

compensation. U.S. CONST. Fifth Amendment, Fourteenth Amendment.

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67. The issue of regulatory takings arises from the interaction between the
exercise of traditional police power and the exercise of eminent domain. However, when
the regulation goes too far, it will be judicially recognized as the equivalent of a taking
which may not take place without payment of just compensation to the property’s owner.

68. Here, the Declaration has gone too far because it is arbitrary and
capricious, and the Ban has gone too far because it has denied the Plaintiffs the
fundamental due process ingredients of notice and opportunity.

69. The Defendants have also violated the Supremacy Clause, the Contracts
Clause and the Commerce Clause of the United States Constitution by issuing the
Declaration and enforcing the Ban.

70. The Ban will cause substantial, imminent and irreparable harm to the
Plaintiffs unless the Declaration is vacated and the Defendants are enjoined from
enforcing the Ban.

WHEREFORE, the Plaintiffs request that this Court enter an Order vacating the
Declaration, preventing the enforcement of the Ban, issuing injunctive relief, awarding
the Plaintiffs monetary damages and reasonable attorneys’ fees and costs, and any other
such relief as this Court deems just and fair.

COUNT V
(Violation of 42 U.S.C. 1983)

71. The Plaintiffs reallege, reassert, and incorporate by reference herein each
of the allegations contained in paragraphs 1 through 70 of this Complaint as though set
forth fully herein.

72. 42U.S.C. § 1983 prohibits the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws.

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73. The Defendants have violated 42 U.S.C. § 1983 by depriving the
Plaintiffs’ of their rights under the Supremacy Clause, the Contracts Clause, the
Commerce Clause of the United States Constitution, and the Fifth and Fourteenth
Amendments of the same by issuing the Declaration and enforcing the Ban, as described
is this Complaint.

74. The Ban will cause substantial, imminent and irreparable harm to the
Plaintiffs unless the Declaration is vacated and the Defendants are enjoined from
enforcing the Ban.

WHEREFORE, the Plaintiffs request that this Court enter an Order vacating the
Declaration, preventing the enforcement of the Ban, issuing injunctive relief, awarding
the Plaintiffs monetary damages and reasonable attorneys’ fees and costs, and any other
such relief as this Court deems just and fair.

COUNT VI
(Declaratory Judgment: M.G.L. c. 17, § 2A)

75. The Plaintiffs reallege, reassert, and incorporate by reference herein each
of the allegations contained in paragraphs 1 through 74 of this Complaint as though set
forth fully herein.

76.  Anactual controversy capable of judicial resolution exists between the
parties as to whether the Declaration and the Ban are constitutional and enforceable by
the Defendants.

77. The Plaintiffs are entitled to a declaratory judgment that the Declaration
must be vacated, because it was issued in an arbitrary and capricious manner, thereby

violating the Governor’s authority to issue the Declaration.

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78. The Plaintiffs are entitled to a declaratory judgment that the enforcement
of the Ban is a violation of the Defendants’ authority.

WHEREFORE, the Plaintiffs request that this Court enter an Order vacating the
Declaration, preventing the enforcement of the Ban, issuing injunctive relief, awarding
the Plaintiffs monetary damages and reasonable attorneys’ fees and costs, and any other
such relief as this Court deems just and fair.

PRAYER FOR RELIEF
WHEREFORE, the Plaintiffs respectfully pray for the following relief:

A. A declaration pursuant to 28 U.S.C. § 2201 that the Governor’s and
Commissioner’s conduct in effectuating the Ban on ENDS and e-liquids violates the
United States Constitution;

B. A declaration that the Defendants violations of the Constitution also
constituted a violation of 42 U.S.C. § 1983, and an award of damages pursuant to said
statute;

Os Temporary, preliminary and permanent injunctive relief and/or a final
order enjoining the Defendants from implementing or enforcing the Declaration, the Ban,
or any other action banning the purchase and sale of ENDS products or e-liquids. In the

_alternative, temporary, preliminary and permanent injunctive relief and/or a final order
vacating the Governor’s Declaration of Emergency, the Commissioner’s Ban, and any
other conduct undertaken by or at the direction of the Defendants relating to the
Commonwealth’s effort to ban ENDS products and e-liquids;

D. An award of costs and expenses, including reasonable attorney’s fees

against the Commonwealth pursuant to 42 U.S.C. § 1988; and

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EB. Such other and further relief as the Court deems just and proper.

DEMAND FOR JURY TRIAL

Plaintiffs respectfully demand a jury trial of any and all issues triable of right before a

jury.

Dated: September 29, 2019

LZ

Respectfully submitted,

PLAINTIFFS,

MASS DYNAMICS, LCC,
BOSTON VAPOR, LLC, and
LINDA AND JEFFREY VICK d/b/a
VICK’S VAPE SHOP,

By their attorneys,

/s/ Craig E. Rourke

 

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CERTIFICATE OF SERVICE

I hereby certify that a true copy of the above document was filed with the Office
of the Civil Clerk for the United States District Court, District of Massachusetts, via
electronic means, on September 29, 2019:

/s/ Craig E. Rourke
Craig E. Rourke

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